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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF GEORGIA
                               COLUMBUS DIVISION


TRUDA ZOBEL,

   Plaintiff,                                 CASE NO.: 4:16-CV-00354-CDL


-vs-

ALLY FINANCIAL INC.,

   Defendant.

                                   /


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


        COMES NOW the Plaintiff, Truda Zobel, and the Defendant, ALLY FINANCIAL

INC, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss, with

prejudice, each claim and count therein asserted by Plaintiff against the Defendant in

the above styled action, with Plaintiff and Defendant to bear their own attorney’s fees,

costs and expenses.

        Respectfully submitted this 17th day of March, 2017.



/s/ Octavio Gomez                             /s/ Alexandra Krasovec (by permission)
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